Case 6:16-cV-0097O-RBD-TBS Document 49 Filed 11/10/17 Page 1 of 1 PagelD 427

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State of F|orida County of Midd|e
Case Number: 6:16-CV-00970-RBD-TBS Court Date: 11/3/2017 10:00 am
BARBA RNlER
RA BE L|N2017006879
vs.
Detendant:

lNFlLAW CORPOART|ON; CHARLOTTE SCHOOL OF LAW, LLC

For:

Coleman W. Watson
Watson LLP

189 South Orange Avenue
Suite 810

Orlando, FL 32801

Received by Lynx Legal Services to be served on American Bar Association Attn: Jarisse J. Sanborn, Registered Agent,
321 North C|ark Street, Chicago, |L 60654.

l, Paul Gizel PSL#: 117-001119, being duly sworn, depose and say that on the 20th day of October, 2017 at 11:28 am, |:
CORPORATE served by delivering a true copy of the Subpoena to Produce Documents, information or Obiects or to Permit
inspection of Premises in a Civi| Action and Exhibit "A" with the date and hour of service endorsed thereon by me, to: Michael

Gadson as Law OHice Manager for American Bar Association, at the address of: 321 North C|ark Street, Chicago, |L 60654,
and informed said person ot the contents therein, in compliance with F.S. 48.081

Description of Person Served: Age: 50, Sex: M, Race/Skin Coior: Black, Height: 5'9", Weight: 225, Hair: Black, Glasses: N

l am over the age of 18, have no interest in the above action, and am a Certified Process Server, in good standing, in the judicial
circuit in which the process was served

QMQ©

 

 

Pau| Gize| PSL#: 117-001119
Sz§>scribedv and Sworn to before me on the§-z day of Process Server
JX£_,¢’?M l by the affiant who is personally
known to me. Lynx Legal Services
800 N. Magnolia Avenue
MV\ C m suite 1500

""MWMM~ orlando FL 32803

  
  
  

OFFlClAL SEAL (407) 872-0707
JOAN C HARENBERG
NOTARY PUBLlC . STATE op |LL¢NQ|S Our Job Seria| Number: L|N-2017006879
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